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  15   AMAZON.COM SERVICES, INC.,
       AMAZON.COM, INC.
  16   (additional counsel on next page)
  17
  18                       UNITED STATES DISTRICT COURT

  19                      CENTRAL DISTRICT OF CALIFORNIA

  20
       MARCELLUS MCMILLIAN,                        Case No.: 2:19-cv-02121-MWF
  21
                          Plaintiffs,           Honorable Michael W. Fitzgerald
  22
                   vs.                          JOINT STIPULATION AND
  23                                            STATUS REPORT RE: TRIAL
       GOLDEN STATE FC LLC, AMAZON              SCHEDULE
  24   FULFILLMENT SERVICES, INC.,
       AMAZON.COM SERVICES, INC.,               Complaint Filed: January 11, 2019
  25   AMAZON.COM, INC., and DOES 1 to
       100, inclusive,
  26
                          Defendants.
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                                                                 JOINT STATUS REPORT
                                                               CASE NO. 19-CV-2121-MWF
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   1   Plaintiff Marcellus McMillian (“Plaintiff”) and Defendants Golden State FC LLC,
   2   Amazon Fulfillment Services, Inc., Amazon.com Services, Inc., and Amazon.com,
   3   Inc. (“Defendants”) (collectively, the “Parties”) by and through their undersigned
   4   counsel of record hereby respectfully submit this Joint Stipulation in response to the
   5   Court’s Scheduling Notice and Order vacating the January 10, 2022 final pretrial
   6   conference and the February 1, 2022 trial date (Dkt. No. 122). All trial pleadings have
   7   been filed except for the Parties’ respective trial briefs, as the filing deadline had not
   8   yet approached at the time the final pretrial conference was vacated. The Court’s
   9   order indicated that the Parties may submit a stipulation and proposed order setting
  10   forth their desired continued dates or, alternatively, to file a joint status report.
  11   Accordingly, the Parties have met and conferred and agreed upon a trial date in late
  12   June 2022, but disagree on the final pretrial conference date:
  13       Trial Date:
  14             o It is stipulated by and between the Parties, through their respective
  15                counsel of record, that trial is requested to proceed at 8:30 a.m. on
  16                June 27, 2022;
  17       Final Pretrial Conference:
  18             o Plaintiff proposes that the final pretrial conference proceed on June
  19                6, 2022, as it would otherwise normally be scheduled. Defendants
  20                have not articulated any reasonable need for requesting a much earlier
  21                final pretrial conference date, and it would be more practical to
  22                schedule the final pretrial conference date closer to the actual trial date,
  23                so that all matters pertaining to trial can be discussed in one setting
  24                shortly before the trial is set to begin;
  25
                 o Defendants propose that there is no reason why the Parties cannot
  26
                    hold a remote pretrial conference with the Court in the next month
  27
                    (e.g., on the prior trial date of February 1, 2022, or on another
  28
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   1               mutually available date), so that the Court may rule on fully briefed
   2               motions in limine, and address the submitted jury instructions and
   3               special verdict forms, and any other pretrial issues. There is no further
   4               action for the Parties to take with respect to these pretrial filings, the
   5               Parties will have better recollection of their discussions during the
   6               pretrial conference of counsel that occurred in December prior to
   7               submitting these filings, and a decision on disputed issues now will
   8               guide the Parties’ preparation for trial between now and the agreed
   9               upon trial date. Defendants therefore propose that the Court set a
  10               remote pretrial conference as soon as practicable to address the pretrial
  11               filings that have already been submitted. The Court can then hold a
  12               second final pretrial conference closer in time to the trial date (e.g.,
  13               June 6, 2022) to address any issues that may arise during the period
  14               between the remote conference to rule on submitted issues and the
  15               final conference that would precede the trial start date.
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  17         Respectfully submitted,
  18
       Date: January 19, 2022    MORGAN, LEWIS & BOCKIUS LLP
  19
  20
                                 By
  21                                    Barbara A. Fitzgerald
                                        Ethel J. Johnson
  22                                    Alexander L. Grodan
  23                                   Attorneys for Defendants GOLDEN STATE FC
                                       LLC, AMAZON FULFILLMENT SERVICES,
  24                                   INC., AMAZON.COM SERVICES, INC.,
                                       AMAZON.COM, INC.
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   1   Date: January 19, 2022   G-ROD LAW, APC
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   3                            By
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   4
                                     Attorneys for Plaintiff MARCELLUS MCMILLIAN
   5
   6   Date: January 19, 2022   SHEGARIAN & ASSOCIATES, INC.
   7
   8                            By
                                      Carney R. Shegerian
   9                                  Anthony Nguyen
                                      Mahru Madjidi
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                                     Attorneys for Plaintiff MARCELLUS MCMILLIAN
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